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UNITED STATES COURT OF AP,’1E/ LS
FOR DISTRICT OF COLUMBIA CIRCUIT


         JAN-5 2m
                       LARGUMENT SCHEDULED JANURY 9, 2024
 RECEDED                      Case Ns. 23-3228


                    UNITED STATES COURT OF APPEALS
                  FOR THE DISTRICT OF COLUMBIA CIRCUIT


                              UNITED STATE OF AMERICA,

                                                            Appellee,



                                    DONALD J. TRUMP,

                                                   Appellant-Defendant



      On Appeal from the United States District Court for District of Columbia


               MOTION FOR LEAVE TO FILE AS AMICUS CURIAE
                   BY LAW PROFESSOR VICTOR WILLIAMS
                IN SUPPORT OF APPELLANT DONALD J. TRUMP


Victor Williams,
Appearing Pro Se
Senior Counsel
Article II Project
4530 Shepherd Grade Road
Shepherdstown, WV 36532
571-309-8249
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                 CORPORATE DISCLOSURE STATEMENT

      Amicus curiae Professor Victor Williams certifies that he is a natural person,

and as such have no parent corporations or stock.



                   MOTION TO FILE AN AMICUS CURIAE BRIEF

      Pursuant to Federal Rules of Appellate Procedure 26 and 29(a)(3) and

Circuit Rule 29(b), Professor Victor Williams respectfully requests this Court to

file an amicus curiae brief in the above captioned matter in support of appellant

Donald Trump.

      Counsel for appellant Donald J. Trump consented to the filing of this amicus

brief however counsel for the appellee United States did not respond to a request.

      Prospective amicus notes that the deadline for filing this amicus brief was

December 30, 2023 which fell on a Saturday and that the following Monday was

January 1, 2024 a legal holiday. In accord Federal Rule of Appellate Procedure 26

regarding calculation of time for deadlines, prospective amicus thus respectfully

asks that this motion filed Tuesday, January 2, 2024 (in paper form via U.S. Postal

Service as a pro se) be considered as timely.
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      With over thirty years experience in the field of constitutional law, amicus

Victor Williams has served as a law professor and attorney. Amicus has held

appointments at the City University of New York’s John Jay College of Criminal

Justice, Catholic University of America’s Columbus School of Law, and the

University of Maryland’s Casey Law School. Professor Williams has researched

and widely published including in the areas of constitutional law, presidential

selection, and the federal appointments process. Amicus’s published scholarship

and commentary has offered support for the appointment prerogatives of five

presidents (without regard to their party affiliation). From late 2015 to present.

Professor Williams has been a zealous supporter of Donald J. Trump and his

America First movement including founding “Law Professors for Trump.”

Williams has authored numerous amicus curiae briefs, academic essays, and

popular opinion pieces supporting Trump and his administration’s policies.

Williams is most recently Fcmnder and Senior Counsel of the Article II Project.



Dde             2, 2024
  1
 /
   rkfor Williams
Victor Williams
                          CERTIFICATE OF SERVICE

I hereby certify that January 2, 2024,1 filed the foregoing through the US Postal

Service in hard copy as a pro se filer (having found the ECF system unavailable to
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me). I farther certify that parties will be served today through the US Postal

Service.
